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          Exhibit 3
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Title: Technical Partner Manager

Location: Austin, TX, US, 78759
Requisition ID: 45605

Are you data-driven? We at NetApp believe in the transformative power of data – to expand customer touchpoints, to
foster greater innovation, and to optimize operations. We are designed for simplicity, optimized to protect, created to
embrace future opportunity, and open to enrich choice. We are the data authority for hybrid cloud, and we are helping
our customers realize the full potential of their data.

We’ve built a Data Fabric for a data-driven world – to simplify and integrate data management across the resources
that are best for the business. With the Data Fabric, our customers can harness the power of cloud data services,
build cloud infrastructures, and modernize storage through data management.

Job Summary
The Technical Partner Manager (TPM) is an integral member of NetApp’s channel sales team as the primary technical
resource for assigned partners. In this role the TPM is responsible for driving growth for NetApp partners through
product evangelization, education on products, tools and selling strategies and hands on facilitation of partner
opportunities. Additionally, the TPM acts as the technical liaison between the partner and NetApp sales, support and
engineering.
Key Performance Objectives
Evangelization: The TPM is responsible for driving excitement and interest in NetApp solutions and technology. The
TPM works independently and with NetApp subject matter experts to understand and deliver NetApp’s technical vison
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and strategy to the partner community
Partner technical competency: The TPM is responsible for all technical enablement of assigned partners. This
includes understanding current technical capabilities and developing strategies to ensure pre and post-sale technical
competency for NetApp solutions and tools needed to support the partner’s business plan and growth objectives
Technical Sales Support: In close coordination with the account SEs, other account team resources, and other
resources within NetApp (engineering, product management, etc.), monitor key technical sales support activities to
ensure that Partner needs are being addressed in a proper and timely manner. Ensure that the appropriate processes
and resources are utilized. As appropriate, personally drive certain activities.
Relationship-Building: Foster good working relationships with the key stakeholders in your business. This would
include NetApp sales colleagues as well as key people outside NetApp like tech leaders at top partners.
Technical Account Plan: In collaboration with the Channel Manager, and other members of the channel team,
construct a business plan and technical sales, support and enablement strategy (Technical Account Plan) that will
address both the Partner needs and NetApp’s account strategy. The plan will be used for both internal and external
communication activities and will be refreshed throughout the year. As the Partner technical lead, you assist the
NetApp Channel Manager drive the technical team towards timely completion of the plan initiatives.


Job Requirements
• Identify and influence the improvement of key channel business processes across NetApp.
• Assist with the ongoing improvement and evolution of partner programs.
• Drive overall channel TPM program consistency, teaming, and integration of all TPM activities when applicable.
• Provide product presentations and education to small or large Partner groups
• Demonstrate leadership and provide mentoring for other technical team members.
• Support Partner responses for RFI/RFP.
• Responsible for Partner advocacy within NetApp.
• Build plan to drive Partner attendance for key technical Partner events.


Education
• 8 to 12 years of enterprise technology experience, preferably with technology vendors in systems engineering,
consultative or other customer facing roles.
• A Bachelor of Arts or Sciences Degree in Electrical Engineering, Computer Science; or equivalent is required.
• Experience which demonstrates a solid level of expertise in technical specifications required to sell
• Demonstrated ability to translate technical features and function into compelling business value
• Demonstrated ability to personally create team plans, estimate/manage workloads and timelines, track details and
drive work to completion in a timely manner.
• Successful experience in building long term personal relationships with senior level enterprise Partners.
• Recognized industry certifications desirable, but not required.


So get ready to tap into the data visionary within, and join us as we accelerate digital transformation and empower our
customers to change the world with data!

If you ask a NetApp employee why they work here, the answer is inevitably the same: the people. At NetApp, our
culture is at the heart of what we do. We place importance in trust, integrity, teamwork, and caring above all else.
NetApp is a place where people are empowered to make a difference. Empowered to innovate. Empowered to
collaborate. Empowered to help ourselves and others be data-driven and change the world. We take care of each
other, our customers, our partners, and our communities simply because it’s the right thing to do.

We work hard but also recognize the importance of work-life balance for our employees because what’s important to
them is important to us! Recently we implemented Family First, which encourages employees to take paid time off to
bond with a new child (through birth or adoption) or to care for a family member with a serious health condition. Our
volunteer time off program is best in class, offering employees 40 hours of paid time off per year to donate their time
with their favorite organizations. We provide comprehensive medical, dental, wellness and vision plans for you and
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  your family. We offer educational assistance, legal services, and access to discounts and fitness centers. We also
  offer financial savings programs to help you plan for your future.

  Join us and see what empowerment can do.



                              Equal Opportunity Employer Minorities/Women/Vets/Disabled

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Job Segment: Information Technology, IT Manager, Medical, Engineer, Electrical, Technology, Healthcare, Engineering


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